                                   Case 17-12747-LMI                 Doc 1       Filed 03/07/17            Page 1 of 69

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Going Ventures, LLC d/b/a Going Aire, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5 Barracuda Lane
                                  Key Largo, FL 33037
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Monroe                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 17-12747-LMI                Doc 1         Filed 03/07/17              Page 2 of 69
Debtor    Going Ventures, LLC d/b/a Going Aire, LLC                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                    Case 17-12747-LMI                   Doc 1       Filed 03/07/17               Page 3 of 69
Debtor   Going Ventures, LLC d/b/a Going Aire, LLC                                                  Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal                 Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                     Yes.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of      .          Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                         5001-10,000                                 50,001-100,000
                                     50-99
                                     100-199                                          10,001-25,000                               More than100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities            $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 17-12747-LMI                  Doc 1         Filed 03/07/17             Page 4 of 69
Debtor    Going Ventures, LLC d/b/a Going Aire, LLC                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 7, 2017
                                                  MM / DD / YYYY


                             X   /s/ Carl Bradley Copeland                                                Carl Bradley Copeland
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ David R. Softness                                                     Date March 7, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David R. Softness
                                 Printed name

                                 David R. Softness, P.A.
                                 Firm name

                                 201 South Biscayne Boulevard
                                 Suite 2740
                                 Miami, FL 33131
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305-341-3111                  Email address      david@softnesslaw.com

                                 0513229
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                     Case 17-12747-LMI                        Doc 1        Filed 03/07/17           Page 5 of 69




 Fill in this information to identify the case:

 Debtor name         Going Ventures, LLC d/b/a Going Aire, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 7, 2017                           X /s/ Carl Bradley Copeland
                                                                       Signature of individual signing on behalf of debtor

                                                                       Carl Bradley Copeland
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                          Case 17-12747-LMI                    Doc 1         Filed 03/07/17                Page 6 of 69


 Fill in this information to identify the case:
 Debtor name Going Ventures, LLC d/b/a Going Aire, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                         Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 OnDeck Capital                                                                         Unliquidated                $339,999.66                        $0.00            $339,999.66
 1400 Broadway                                                                          Disputed
 25TH Floor
 New York, NY 10018
 1st Merchant                                                                           Disputed                    $105,045.00                        $0.00            $105,045.00
 Funding, LLC
 12000 Biscayne
 Blvd
 Suite 609
 Miami, FL 33181
 A & R Supply, LLC                                                                                                                                                        $19,307.71
 2650 NW 89 CT.
 Doral, FL 33171
 Blue Cross Blue                                                                                                                                                          $10,564.70
 Shield
 PO Box 740559
 Atlanta, GA
 30374-0559
 Bouche Appliances                                                                                                                                                        $30,269.00
 8822 SW 131 Street
 Miami, FL 33176
 Carrier Sales &                                                                                                                                                          $61,702.92
 Distribution
 29704 Network
 Place
 Chicago, IL
 60673-1297
 Center Meeting                                                                                                                                                           $21,579.93
 Associates
 300 Water Street
 Suite 300
 Wilmington, DE
 19801
 Cultural Center *                                                                                                                                                          $5,000.00
 200 Anchor Drive
 Key Largo, FL 33037



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                          Case 17-12747-LMI                    Doc 1         Filed 03/07/17                Page 7 of 69


 Debtor    Going Ventures, LLC d/b/a Going Aire, LLC                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Danise D Henriquez                                                                                                                                                         $6,641.46
 CFC
 P O Box 1129
 Key West, FL
 33041-1129
 Doug Kinney                                                                                                                                                              $21,403.00
 941 Melvin Road
 Annapolis, MD
 21403
 Kenneth McNeese                                                                                                                                                          $16,000.00
 1913 Kimbark Drive
 Nashville, TN 37215
 Mantis Funding,                                                                        Disputed                     $41,440.00                        $0.00              $41,440.00
 LLC
 64 Beaver Street
 Suite 344
 New York, NY 10004
 Marcone 133518                                                                                                                                                             $5,079.14
 PO Box #790120
 St. Louis, MO 63179
 Max Advance                                                                            Disputed                    $168,750.00                        $0.00            $168,750.00
 4208 18th Ave
 Brooklyn, NY 11218
 Merchant Funding                                                                       Disputed                     $31,598.49                        $0.00              $31,598.49
 Services, LLC
 1 Evertrust Plaza
 14th Floor
 Jersey City, NJ
 07302
 Ocean Reef                                                                                                                                                               $14,232.21
 Club-Comm. Trash
 24 Dockside Lane
 PMB 433
 Key Lago, FL 33037
 ORCA                                                                                                                                                                       $5,791.00
 24 Dockside Lane
 #505
 Key Largo, FL 33037
 Synovus Bank                                                    Credit Card                                                                                              $11,939.15
 P.O. Box 2181
 Columbus, GA
 31902
 The Commonwealth                                                                                                                                                         $21,579.93
 Group
 300 Water Street
 Suite 300
 Wilmington, DE
 19801
 Trane Parts Center                                                                                                                                                       $34,690.04
 PO Box 406469
 Atlanta, GA
 30384-6469


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                             Case 17-12747-LMI                                   Doc 1              Filed 03/07/17                         Page 8 of 69
 Fill in this information to identify the case:

 Debtor name            Going Ventures, LLC d/b/a Going Aire, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            72,900.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            72,900.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           686,833.15


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           328,476.60


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,015,309.75




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                                     Case 17-12747-LMI                   Doc 1      Filed 03/07/17          Page 9 of 69
 Fill in this information to identify the case:

 Debtor name         Going Ventures, LLC d/b/a Going Aire, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Gibaltrar                                               Checking                        8881                                             $0.00




           3.2.     Bank of America                                                                         3352                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                           $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                                    Case 17-12747-LMI                      Doc 1         Filed 03/07/17            Page 10 of 69

 Debtor         Going Ventures, LLC d/b/a Going Aire, LLC                                             Case number (If known)
                Name


           11a. 90 days old or less:                                    0.00    -                                    0.00 = ....                         $0.00
                                              face amount                               doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                         $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last              Net book value of          Valuation method used   Current value of
                                                      physical inventory            debtor's interest          for current value       debtor's interest
                                                                                    (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           See Attached                                                                             $0.00                                        $25,000.00



 23.       Total of Part 5.                                                                                                                  $25,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 2
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                                    Case 17-12747-LMI                   Doc 1      Filed 03/07/17        Page 11 of 69

 Debtor         Going Ventures, LLC d/b/a Going Aire, LLC                                     Case number (If known)
                Name


        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           6 desks
           6 Chairs
           Conference Table 8
           Misc office supplies ($300)
           2 Legal File cabinets
           2 Drawer Fire proof File                                                         $0.00                                          $500.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           5 Desk Top Computers
           Copier/printer/scanner                                                           $0.00                                          $500.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $1,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                                    Case 17-12747-LMI                   Doc 1      Filed 03/07/17       Page 12 of 69

 Debtor         Going Ventures, LLC d/b/a Going Aire, LLC                                    Case number (If known)
                Name

            47.1.    1998 FORD F150 $725
                     2001 FORD F150 $2000
                     2001 FORD ECONOLINE $1400
                     2004 FORD ECONOLINE $2800
                     2004 FORD F150 $2400
                     2005 FORD ECONOLINE $3275
                     2006 FORD ECONOLINE $4200
                     2010 FORD F150 $7250
                     2012 CHEVROLET EXPRESS 1500
                     $8000
                     2009 CHEVROLET EXPRESS 1500
                     $6850
                     2012 CHEVROLET EXPRESS 1500
                     $8000                                                                  $0.00                          $46,900.00



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)

 51.        Total of Part 8.                                                                                            $46,900.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                    page 4
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 Debtor          Going Ventures, LLC d/b/a Going Aire, LLC                                                           Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $25,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $1,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $46,900.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $72,900.00          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $72,900.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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    Acheson, Michael & Adele                       0.00        0.00       0.00       0.00   320.00
    Acosta, Julio & Christine *                    0.00        0.00      95.00       0.00      0.00
    Adams, Thayer 0003120                          0.00        0.00     142.50       0.00      0.00
    Ana Akhtar                                     0.00        0.00       0.00     450.00      0.00
    Angler's Club                                360.00    2,565.56       0.00       0.00      0.00
    Aqua Cal                                       0.00        0.00       0.00       0.00   489.50
    Aronoff, George & Roma                         0.00        0.00       0.00       0.00   190.00
    Bailey, Douglas & Sara                         0.00        0.00       0.00     123.00      0.00
    Bailleres, Alberto & Maria                     0.00        0.00       0.00       0.00   560.00
    Barnhill, Gregory & Lisa 0002139               0.00        0.00       0.00     468.00      0.00
    Bayside Inn 0002236                            0.00        0.00     320.00     190.00      0.00
    Benson, Jon & Mary                             0.00        0.00     225.00       0.00      0.00
    Bensur, William & Sally                        0.00        0.00       0.00     265.50     -5.00
    Berend, John *                                 0.00        0.00      90.00     550.00   425.00
    Berg, Robert                                   0.00        0.00     289.60    -149.60      0.00
    Bergold, Christopher 0002307                   0.00        0.00       0.00       0.00    75.00
    Berkley, William & Marjorie                    0.00      95.00        0.00       0.00      0.00
    Berry, Arthur & Judie                          0.00        0.00     237.52       0.00      0.00
    Bettys Health Food 0002365                     0.00        0.00       0.00       0.00   734.34
    Beyer, Nikki 0002096                           0.00        0.00      95.00       0.00      0.00
    Bohan, Paul & Susan 0001851                    0.00       -3.75       0.00       0.00      0.00
    Boyle, John                                    0.00        0.00       0.00       0.00    85.00
    Brammer, Tim 0002089                           0.00        0.00       0.00       0.00    95.00
    Breaux, John & Lois 0002897                    0.00        0.00     693.50       0.00      0.00
    Breck,Barbara *                                0.00      60.00        0.00       0.00    -30.00
    Brock, Richard & Norma                       450.00        0.00       0.00       0.00      0.00
    Broton, Robert and Janis                       0.00        0.00       0.00       0.00   202.00
    Broussard, Bruce & Janine 0002539              0.00        0.00       0.00       0.00    95.00
    Brown, Martha 0002761                          0.00      95.00        0.00       0.00      0.00
    Cafferty, Thomas & Debra                       0.00      75.00        0.00       0.00      0.00
    Capital Projects 0003253                       0.00        0.00      95.00       0.00      0.00
    Card Sound Golf Club                           0.00     320.00        0.00       0.00      0.00
    Cartwright, Robert C *                         0.00        0.00       0.00       0.00   447.00
    Cassidy, Jr., John & Celeste 0002966           0.00        0.00       0.00       0.00    95.00
    Castleberry, Edward & Susan                    0.00        0.00       0.00       0.00    -96.00
    Chanin, Rick 0003001                           0.00        0.00       0.00       0.00   135.00
    Cheeca Spa & Lodge 0002245                   190.00    4,125.00       0.00       0.00      0.00
    Cilley, Jonathan *                             0.00      50.00        0.00       0.00    -25.00
    CINNAMON PRIME LLC 0002955                     0.00        0.00     730.00       0.00      0.00
    Clarke, Victor *                               0.00        0.00       0.00       0.00    88.00
    Coale, Onyx 0002513                            0.00        0.00       0.00       0.00   789.00
    Cook, Laurel 0002255                           0.00        0.00       0.00     320.00      0.00
    Cortes, Roberto 0003158                        0.00        0.00       0.00       0.00    50.00
    Creekhouse Association 0003040                 0.00        0.00       0.00       0.00   742.50
    Crisp, Harry & Rosemary *                      0.00        0.00       0.00     640.00      0.00




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    D. Garrett Construction, Inc                    0.00        0.00   3,487.50       0.00   2,495.50
    Dabney, Cary 0003220                            0.00        0.00       0.00      95.00       0.00
    Dagit, Timothy & Jennifer *                     0.00        0.00       0.00       0.00       0.00
    Daino, Richard 0002838                          0.00        0.00       0.00       0.00    295.00
    Davey, Jean B.                                  0.00        0.00     190.00       0.00       0.00
    Davis, James C.                                 0.00        0.00       0.00       0.00     90.00
    De Villiers, Jr., David & Catherine *           0.00        0.00      95.00       0.00       0.00
    Dearing, Eugene & Vickie                        0.00        0.00     150.00       0.00       0.00
    Delligatti, James & Lois *                      0.00        0.00       0.00       0.00     95.00
    Dennis, Robert                                  0.00        0.00     125.00       0.00       0.00
    Dingley, Peter & Claudette *                    0.00        0.00       0.00       0.00    430.00
    Dominicis, Jorge 0002813                        0.00        0.00       0.00       0.00     90.00
    Dooland, Todd                                   0.00      95.00        0.00       0.00      0.00
    Eaton, Thor & Nicole *                          0.00        0.00       0.00     136.07      0.00
    Elenbaas, Ronald & Nanette                      0.00     332.50        0.00       0.00      0.00
    Enk, William and Mary-Terese *                  0.00        0.00       0.00       0.00     85.00
    Entenmann, Charles                              0.00        0.00     125.35       0.00      0.00
    Entenmann, Charles & Wendy                      0.00     390.50        0.00       0.00      0.00
    Ethington, Robert & Patricia                    0.00     219.00        0.00       0.00      0.00
    Falk, Victor & Linda                            0.00        0.00       0.00       0.00      0.00
    Farmer, Richard & Joyce                         0.00     200.00        0.00       0.00      0.00
    Fay, Michael & Paula 0002932                    0.00        0.00       0.00       0.00     95.00
    Fernandez, Federico                             0.00        0.00      45.00       0.00       0.00
    Findlay, David & Stella                         0.00        0.00      95.00     190.00       0.00
    Fish, Kevin 0002641                             0.00      95.00        0.00     225.00       0.00
    Flanagan, Joseph & Catherine                    0.00        0.00       0.40       0.00       0.00
    Flippin, Fred & Joan                            0.00        0.00       0.00       0.00    265.00
    Fovel, Carolyn 0003159                          0.00        0.00       0.00       0.00       0.00
    Fran Murphy Interiors                           0.00        0.00       0.00       0.00    150.00
    Frank Valderas                                  0.00        0.00       0.00       0.00       0.00
    Furneaux, John & Patricia                       0.00        0.00       0.00       0.00    104.00
    Garces, Bob 0002026                             0.00        0.00       0.00       0.00    120.00
    Gies, Brian & Ada Irene *                       0.00        0.00       0.00       0.00     75.00
    Gifford, Charles & Anne                         0.00     340.00        0.00       0.00     95.00
    Gilbert's Resort 0002827                        0.00        0.00     940.52       0.00       0.00
    Ginsberg, Richard & Debra                       0.00        0.00   2,067.83     285.00   1,197.00
    Glidden, Robert & Eileen *                      0.00        0.00     180.00       0.00   1,040.00
    Goldsmith, III, Bernard M. *                    0.00        0.00       0.00      95.00      0.00
    Gordon, Lucius & Marie                          0.00        0.00       0.00       0.00    170.00
    Grace, Joseph & Amy *                           0.00        0.00       0.00     223.00      0.00
    Greenberg, Philip 0002254                       0.00        0.00       0.00       0.00     95.00
    Gregorich, Michael 0002125                      0.00     105.00        0.00       0.00      0.00
    Guarch, Gerardo                                 0.00        0.00       0.00       0.00    450.00
    Guido, Laurance and Jane *                      0.00        0.00       0.00       0.00    125.00
    Gutierrez, Teresa Maria 0002798                 0.00        0.00       0.00     331.18       0.00




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    Guyton, Gail & Joyce                               0.00        0.00       0.00       0.00    95.00
    Hackbarth, Philip & Conde                          0.00        0.00       0.00     305.00      0.00
    Hannoch, Franklin & Anita                          0.00        0.00       0.00       0.00    95.00
    Harrington, Ron & Nancy                            0.00      95.00       95.00      95.00      0.00
    Harris, Linda 0002140                              0.00        0.00       0.00     150.00      0.00
    Harter, Thomas & Brenda                            0.00        0.00       0.00       0.00    95.00
    Hashemi, Hamid 0002968                             0.00        0.00       0.00       0.00   140.00
    Hassett, Cathy 0002391                             0.00        0.00       0.00       0.00   552.32
    Haynie, Susan 0002281                              0.00        0.00       0.00       0.00    95.00
    Hayward, Thomas & Sally *                          0.00        0.00       0.00       0.00    95.00
    Hazard, Scott                                      0.00        0.00     538.45       0.00    75.00
    Heffner, Samuel & Gail                             0.00     200.00        0.00       0.00      0.00
    Held, Berel & Claire                               0.00        0.00       0.00       0.00      0.00
    Henn, Jerry & Cherie                               0.00        0.00       0.00       0.00    -95.00
    Henneberry, William & Sandra *                     0.00        0.00     277.65       0.00      0.00
    Henry, Stanley & Mary 0001892                      0.00     107.50        0.00       0.00      0.00
    Henske, Robert & Elizabeth NO WORK                 0.00      95.00        0.00       0.00      0.00
    Hines, Lisa 0001823                                0.00        0.00       0.00       0.00    89.50
    Holbrook, James & Patricia 0002566                 0.00        0.00     307.00       0.00      0.00
    Holloway, Randy 0002559                            0.00        0.00       0.00       0.00    90.00
    Horne, Cress                                       0.00      95.00        0.00       0.00      0.00
    Hoyt, Bradley & Doris                              0.00        0.00     602.50       0.00    -45.50
    Hoyt, Robert and Christine                         0.00        0.00       0.00     395.00      0.00
    Hutchins, Michael & Teresa 0003195                 0.00        0.00       0.00       0.00    95.00
    Ingalls, Melville & Barbara                        0.00      80.00        0.00       0.00    -80.00
    Iz, Ali *                                          0.00        0.00       0.00       0.00      0.00
    Jastrzenski, Felicia 0003074                       0.00        0.00       0.00       0.00   435.00
    Jennings, Richard*                                 0.00     342.31        0.00       0.00      0.00
    JMcLaughlin 0002464                                0.00      75.00        0.00       0.00   255.00
    Johansen, Even & Kazuko                            0.00        0.00       0.00       0.00    95.00
    Johnson, Francesca                                 0.00     535.86       95.00       0.00      0.00
    Johnson, Peter & Jody                              0.00     215.50        0.00       0.00      0.00
    Johnston, Kyle 0002164                             0.00        0.00       0.00       0.00   145.00
    Jones Jr, William Braun 0003237                    0.00        0.00     586.17       0.00      0.00
    Joseph, Dr. Bradley 0002454                        0.00        0.00       0.00       0.00    79.00
    KAREN B 0002871                                    0.00        0.00       0.00       0.00   500.75
    Katz, Edward                                       0.00        0.00       0.00      95.00      0.00
    Kaufman, Joyce                                     0.00     300.00        0.00       0.00      0.00
    Kearns, Tom & Patty                                0.00        0.00       0.00      95.00   250.00
    Kelley, Sandra *                                   0.00        0.00       0.00     396.92      0.00
    Kemp, Dorothy 0003095                              0.00        0.00     320.00       0.00    -47.50
    Kendale Design Build Contractors 0002381           0.00        0.00       0.00       0.00   226.84
    Kennedy, Teri & Ben                           12,378.27        0.00       0.00       0.00      0.00
    Kirschner, Henry & Sandra                          0.00        0.00       0.00       0.00      0.00
    Kleysen, Hubert & Bernice *                        0.00        0.00       0.00       0.00    75.00




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    Klimasewski, Robert                            0.00    2,635.54       0.00       0.00       0.00
    Kroll, Steven & Sally                          0.00      20.00        0.00       0.00     -20.00
    Labadie, William & Cynthia                     0.00        0.00       0.00       0.00    294.55
    Lake, Walter & Joyce                           0.00     363.55        0.00       0.00       0.00
    Lanni, Nick                                    0.00     300.00        0.00       0.00       0.00
    LaRocca, Bruno & Lindsey                       0.00        0.00       0.00       0.00     47.50
    LaRocca, Bruno & Lindsey 0001841               0.00        0.00     441.27       0.00       0.00
    Leben, Daniel 0002303                          0.00        0.00       0.00       0.00    190.00
    Lee 0003045                                    0.00     240.00        0.00       0.00       0.00
    Leenhouts, James & Marjorie                    0.00        0.00       0.00       0.00    260.00
    Leighow, George & Mary *                       0.00        0.00       0.00       0.00     95.00
    Len, Leonard F. & Marian                       0.00        0.00       0.00     160.00       0.00
    Leonardi , Travis 0003196                      0.00        0.00      75.00       0.00     95.00
    Lilly Pulitzer 0003208                         0.00      75.00        0.00       0.00       0.00
    Lim, James & Ann 0003226                       0.00        0.00       0.00       0.00     95.00
    Mackay, Thomas & Loretta *                     0.00        0.00       0.00       0.00     95.00
    Manos, Guy & Pamela                            0.00        0.00       0.00       0.00     85.56
    Manzo, Cindy                                   0.00        0.00       0.00     780.50   2,507.52
    Martin, Craig & Sherry *                       0.00        0.00       0.00       0.00     95.00
    Martin, William & Eva                          0.00        0.00       0.00       0.00     95.00
    Mcalevey, Michael                              0.00        0.00       0.00       0.00     47.50
    McCann, Donald and Shiela *                    0.00        0.00       0.00       0.00      5.00
    McCarthy, Martha *                             0.00        0.00       0.00      95.00       0.00
    McDonald, Iris 0002717                         0.00        0.00       0.00       0.00    170.00
    McGraw, Michael & Mary                         0.00    1,275.66       0.00       0.00       0.00
    McHarg, Warren & Christine *                   0.00        0.00       0.00      24.00       0.00
    McIntosh, John W.                              0.00     180.35        0.00       0.00       0.00
    McStravick, James & Nanette *                  0.00        0.00       0.00       0.00    692.00
    Medaglia, Anthony & Catherine                  0.00        0.00       0.00       0.00    196.40
    Michael & Diane, Jones 0002807                 0.00     427.73        0.00       0.00       0.00
    Miller, Duncan & Margaret *                    0.00        0.00       0.00       0.00     47.50
    Misc                                           0.00        0.00       0.00       0.00       0.00
    Moody, Elizabeth 0003004                       0.00        0.00     107.00       0.00       0.00
    Morgan, A.C. & Molly                           0.00     170.00        0.00       0.00       0.00
    Morosky, Robert & Diane                        0.00        0.00       0.00       0.00    142.50
    Moss, Joseph & Gail *                          0.00        0.00       0.00     160.00       0.00
    Moxon, Sally                                   0.00        0.00       0.00       0.00     75.00
    Murdough, Jr., Thomas G & Joy                  0.00        0.00     355.94       0.00       0.00
    Nesher, Jill 0003132                           0.00        0.00      75.00       0.00     95.00
    Nivar Inc. 0002740                             0.00     190.00       95.00       0.00   5,092.92
    Nowak, John & Genevieve *                      0.00        0.00       0.00       0.00     95.00
    Ocean Harbour Condos 0002221                   0.00        0.00       0.00       0.00    130.00
    Ocean Reef Club                                0.00        0.00       0.00       0.00    602.00
    Ocean Reef Club Engineering                    0.00        0.00       0.00       0.00    510.00
    Ocean Reef Homes 0002220                       0.00        0.00       0.00       0.00       0.00




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    Olefson, Shari B.                               0.00        0.00       0.00       0.00    116.00
    Orlando, Dario                                  0.00        0.00       0.00     160.00       0.00
    Overholt Construction Corp                      0.00     150.00        0.00       0.00    604.20
    Pace, David & Sherryll Anne *                   0.00        0.00       0.00      95.00       0.00
    Paige, Francis & Judy *                     2,217.80        0.00      95.00       0.00     75.00
    Parmenter, Courtney 0003016                     0.00        0.00      95.00       0.00   1,076.00
    Parmenter, Daryl & Courtney                     0.00        0.00       0.00       0.00    144.00
    Paterson, Johanna                               0.00     121.46        0.00       0.00       0.00
    Paxos, George & Sevasti                         0.00        0.00     122.00       0.00       0.00
    Pease, Louisa                                   0.00        0.00       0.00       0.00     95.00
    Perenic, Alex 0003234                           0.00        0.00      95.00       0.00       0.00
    Perenic, Frederic & Lynn 0003057                0.00        0.00     546.80       0.00       0.00
    Perfido, Ruth 0003214                           0.00        0.00       0.00     240.00       0.00
    Persaud, Samuel & Cherie *                      0.00        0.00      98.00       0.00       0.00
    Peterson, David & Krista                        0.00        0.00       0.00       0.00   1,910.00
    Philips, Brian & Laura *                        0.00        0.00     101.00       0.00      0.00
    Philly Keys Restaurant 0002209                  0.00        0.00       0.00       0.00     95.00
    Pietrafesa, Richard                             0.00        0.00       0.00       0.00    577.00
    Platner, Brian & Beverly 0002535                0.00     427.00        0.00       0.00      0.00
    Pollard, Thomas & Kelly 0003144                 0.00      95.00        0.00       0.00      0.00
    Post, George & Sandra *                         0.00        0.00       0.00       0.00      0.00
    Potts, Dianne 0003249                           0.00      95.00        0.00      95.00      0.00
    R. T. Leasing Corp.                             0.00     310.00        0.00       0.00       0.00
    Randall, Ayo 0003245                            0.00        0.00      97.00       0.00       0.00
    Reinhold, John 0002556                          0.00        0.00       0.00     320.07       0.00
    Repplier, Banning                               0.00        0.00       0.00       0.00     95.00
    Richards,Russ 0002476                           0.00        0.00       0.00       0.00     95.00
    Ripich, Robert & Catherine *                    0.00        0.00     282.81       0.00       0.00
    Robex Juice 0002239                             0.00        0.00       0.00       0.00    333.50
    Robinson, Richard                               0.00        0.00      87.00       0.00       0.00
    RT Leasing Corp                                 0.00        0.00       0.00       0.00    142.50
    Rule, Kenneth & Sandra Lynn                     0.00        0.00       0.00       0.00    190.00
    Runnells, Clive & Nancy                         0.00        0.00       0.00     150.00       0.00
    Russell Post Properties Rentals                 0.00        0.00       0.00       0.00     95.00
    Russell, Margaret 0002608                       0.00        0.00       0.00       0.00     95.00
    Ryon, Richard & Cathy *                         0.00      95.00        0.00       0.00     95.00
    Schneider, Frank & Gordana 0002583              0.00        0.00       0.00     109.00      0.00
    Seale, James & Erin                             0.00        0.00       0.00       0.00     95.00
    Seaway Plumbing                                 0.00        0.00       0.00       0.00     72.00
    Shields, Pat & Meg                              0.00      95.00    1,171.20       0.00      0.00
    Shimm, Kenneth                                  0.00        0.00       0.00      95.00      0.00
    Shoreline Builders, Inc                         0.00        0.00       0.00       0.00    700.00
    Shumway, Shirley                                0.00        0.00      95.00       0.00      0.00
    Sloan, Cyrus Hamilton & Ann 0002779             0.00     430.71       95.00       0.00      0.00
    Slovick, Steven & Melinda 0002895               0.00     184.00        0.00       0.00       0.00




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    Smalley 0002593                                0.00        0.00       0.00       0.00     90.00
    Smith , Campbell & Ashley 0003239              0.00        0.00       0.00     190.00       0.00
    Smith, Charles                                 0.00        0.00       0.00       0.00     95.00
    Smith, Raymond & Virginia 0003010              0.00        0.00       0.00      95.00       0.00
    South Bay Developers 0002505                   0.00        0.00       0.00       0.00    332.50
    St. Germain, Lisa 0003128                      0.00        0.00     354.55       0.00       0.00
    Stamps, Roe & Penny                            0.00      95.00        0.00       0.00       0.00
    Stavola, William & Maureen                     0.00        0.00      95.00       0.00       0.00
    Strode, James 0003097                          0.00        0.00       0.00      95.00       0.00
    Sullivan, Michael & Jill                       0.00        0.00       0.00       0.00    123.00
    Swenson, Peter 0003082                         0.00        0.00       0.00       0.00     85.00
    Tapavino 0003176                               0.00        0.00       0.00       0.00     95.00
    Techet & Steven & Joan                         0.00     473.30        0.00       0.00       0.00
    Terzian, Mrs. Arthur *                         0.00        0.00       0.00       0.00    540.71
    Thomas, Jose 0002674                           0.00        0.00       0.00       0.00     95.00
    Thornton, Peter & Marijane *                   0.00        0.00      95.00     212.60       0.00
    Thornton, Stephanie 0002050                    0.00        0.00       0.00     127.50       0.00
    Timeless 0002868                               0.00        0.00       0.00       0.00     90.00
    Torise, Steve & Joyce                          0.00        0.00       0.00     170.50      0.00
    Tri-Tech Construction 0002037                  0.00    1,200.00       0.00       0.00   4,329.25
    Tudino, Eugene & Rita *                        0.00        0.00     278.54       0.00      0.00
    Tweardy, Cathey                                0.00     122.50        0.00       0.00      0.00
    Urban, Kathy 0002716                           0.00        0.00       0.00       0.00    448.50
    Vacation Rentals                               0.00     917.12      520.00       0.00    415.00
    Van Ness, William & Anne                       0.00     240.75        0.00       0.00       0.00
    Veneklasen, Alan & Lynn *                      0.00        0.00       0.00      90.00       0.00
    Ventura, Juan C. & Maria 0003243               0.00      85.00        0.00       0.00       0.00
    Vernace, Salvatore & Anna Maria                0.00        0.00     160.00       0.00       0.00
    Viking Distributing East 0003117               0.00        0.00       0.00       0.00     83.28
    Waite, Julia                                   0.00        0.00       0.00      95.00       0.00
    Waller, Allen & Gladys *                       0.00        0.00     207.37       0.00       0.00
    Watts, Joretta                                 0.00      51.06        0.00       0.00       0.00
    Weisleder, Brooke & Sally                      0.00        0.00      -3.00       0.00       0.00
    Whitaker, Kerry                                0.00     325.64        0.00       0.00       0.00
    White, Kathy & William *                       0.00     225.00        0.00       0.00       0.00
    Wiebel, Michelle 0002431                       0.00        0.00       0.00     184.00       0.00
    Williams, Roy 0002596                          0.00     300.00        0.00     285.00      -0.10
    Williamson, Robert & Eleanor                   0.00        0.00     360.00       0.00       0.00
    Wittels, Michael & Lishka                      0.00        0.00       0.00       0.00    494.00
    Witz, Robert & Fay                             0.00        0.00       0.00       0.00     95.00
    Wolf , Charles & Diane 0003244                 0.00     200.00        0.00       0.00       0.00
    Wolf, Morris & Barbara                         0.00        0.00       0.00     123.00       0.00
    Worley, Joe 0002259                            0.00     355.47        0.00       0.00       0.00
    Wretzky , Gerald 0002977                       0.00        0.00       0.00       0.00     97.00
    Yoh, Jr. Harold & Mary                         0.00        0.00       0.00       0.00    300.00




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    Yoh, Michael & Gayle                       0.00        0.00        0.00        0.00      75.00
    Young, Bradley & Laurel                    0.00        0.00        0.00     255.44         0.00
    Zaccaro, John                              0.00     300.00         0.00        0.00        0.00
TOTAL                                     15,596.07   24,071.82   19,533.97   10,375.68   42,752.54




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    Acheson, Michael & Adele                      320.00
    Acosta, Julio & Christine *                    95.00
    Adams, Thayer 0003120                         142.50
    Ana Akhtar                                    450.00
    Angler's Club                               2,925.56
    Aqua Cal                                      489.50
    Aronoff, George & Roma                        190.00
    Bailey, Douglas & Sara                        123.00
    Bailleres, Alberto & Maria                    560.00
    Barnhill, Gregory & Lisa 0002139              468.00
    Bayside Inn 0002236                           510.00
    Benson, Jon & Mary                            225.00
    Bensur, William & Sally                       260.50
    Berend, John *                              1,065.00
    Berg, Robert                                  140.00
    Bergold, Christopher 0002307                   75.00
    Berkley, William & Marjorie                    95.00
    Berry, Arthur & Judie                         237.52
    Bettys Health Food 0002365                    734.34
    Beyer, Nikki 0002096                           95.00
    Bohan, Paul & Susan 0001851                    -3.75
    Boyle, John                                    85.00
    Brammer, Tim 0002089                           95.00
    Breaux, John & Lois 0002897                   693.50
    Breck,Barbara *                                30.00
    Brock, Richard & Norma                        450.00
    Broton, Robert and Janis                      202.00
    Broussard, Bruce & Janine 0002539              95.00
    Brown, Martha 0002761                          95.00
    Cafferty, Thomas & Debra                       75.00
    Capital Projects 0003253                       95.00
    Card Sound Golf Club                          320.00
    Cartwright, Robert C *                        447.00
    Cassidy, Jr., John & Celeste 0002966           95.00
    Castleberry, Edward & Susan                   -96.00
    Chanin, Rick 0003001                          135.00
    Cheeca Spa & Lodge 0002245                  4,315.00
    Cilley, Jonathan *                             25.00
    CINNAMON PRIME LLC 0002955                    730.00
    Clarke, Victor *                               88.00
    Coale, Onyx 0002513                           789.00
    Cook, Laurel 0002255                          320.00
    Cortes, Roberto 0003158                        50.00
    Creekhouse Association 0003040                742.50
    Crisp, Harry & Rosemary *                     640.00




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                                                TOTAL

    D. Garrett Construction, Inc                 5,983.00
    Dabney, Cary 0003220                            95.00
    Dagit, Timothy & Jennifer *                      0.00
    Daino, Richard 0002838                         295.00
    Davey, Jean B.                                 190.00
    Davis, James C.                                 90.00
    De Villiers, Jr., David & Catherine *           95.00
    Dearing, Eugene & Vickie                       150.00
    Delligatti, James & Lois *                      95.00
    Dennis, Robert                                 125.00
    Dingley, Peter & Claudette *                   430.00
    Dominicis, Jorge 0002813                        90.00
    Dooland, Todd                                   95.00
    Eaton, Thor & Nicole *                         136.07
    Elenbaas, Ronald & Nanette                     332.50
    Enk, William and Mary-Terese *                  85.00
    Entenmann, Charles                             125.35
    Entenmann, Charles & Wendy                     390.50
    Ethington, Robert & Patricia                   219.00
    Falk, Victor & Linda                             0.00
    Farmer, Richard & Joyce                        200.00
    Fay, Michael & Paula 0002932                    95.00
    Fernandez, Federico                             45.00
    Findlay, David & Stella                        285.00
    Fish, Kevin 0002641                            320.00
    Flanagan, Joseph & Catherine                     0.40
    Flippin, Fred & Joan                           265.00
    Fovel, Carolyn 0003159                           0.00
    Fran Murphy Interiors                          150.00
    Frank Valderas                                   0.00
    Furneaux, John & Patricia                      104.00
    Garces, Bob 0002026                            120.00
    Gies, Brian & Ada Irene *                       75.00
    Gifford, Charles & Anne                        435.00
    Gilbert's Resort 0002827                       940.52
    Ginsberg, Richard & Debra                    3,549.83
    Glidden, Robert & Eileen *                   1,220.00
    Goldsmith, III, Bernard M. *                    95.00
    Gordon, Lucius & Marie                         170.00
    Grace, Joseph & Amy *                          223.00
    Greenberg, Philip 0002254                       95.00
    Gregorich, Michael 0002125                     105.00
    Guarch, Gerardo                                450.00
    Guido, Laurance and Jane *                     125.00
    Gutierrez, Teresa Maria 0002798                331.18




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                                                   TOTAL

    Guyton, Gail & Joyce                               95.00
    Hackbarth, Philip & Conde                         305.00
    Hannoch, Franklin & Anita                          95.00
    Harrington, Ron & Nancy                           285.00
    Harris, Linda 0002140                             150.00
    Harter, Thomas & Brenda                            95.00
    Hashemi, Hamid 0002968                            140.00
    Hassett, Cathy 0002391                            552.32
    Haynie, Susan 0002281                              95.00
    Hayward, Thomas & Sally *                          95.00
    Hazard, Scott                                     613.45
    Heffner, Samuel & Gail                            200.00
    Held, Berel & Claire                                0.00
    Henn, Jerry & Cherie                              -95.00
    Henneberry, William & Sandra *                    277.65
    Henry, Stanley & Mary 0001892                     107.50
    Henske, Robert & Elizabeth NO WORK                 95.00
    Hines, Lisa 0001823                                89.50
    Holbrook, James & Patricia 0002566                307.00
    Holloway, Randy 0002559                            90.00
    Horne, Cress                                       95.00
    Hoyt, Bradley & Doris                             557.00
    Hoyt, Robert and Christine                        395.00
    Hutchins, Michael & Teresa 0003195                 95.00
    Ingalls, Melville & Barbara                         0.00
    Iz, Ali *                                           0.00
    Jastrzenski, Felicia 0003074                      435.00
    Jennings, Richard*                                342.31
    JMcLaughlin 0002464                               330.00
    Johansen, Even & Kazuko                            95.00
    Johnson, Francesca                                630.86
    Johnson, Peter & Jody                             215.50
    Johnston, Kyle 0002164                            145.00
    Jones Jr, William Braun 0003237                   586.17
    Joseph, Dr. Bradley 0002454                        79.00
    KAREN B 0002871                                   500.75
    Katz, Edward                                       95.00
    Kaufman, Joyce                                    300.00
    Kearns, Tom & Patty                               345.00
    Kelley, Sandra *                                  396.92
    Kemp, Dorothy 0003095                             272.50
    Kendale Design Build Contractors 0002381          226.84
    Kennedy, Teri & Ben                            12,378.27
    Kirschner, Henry & Sandra                           0.00
    Kleysen, Hubert & Bernice *                        75.00




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                                               TOTAL

    Klimasewski, Robert                         2,635.54
    Kroll, Steven & Sally                           0.00
    Labadie, William & Cynthia                    294.55
    Lake, Walter & Joyce                          363.55
    Lanni, Nick                                   300.00
    LaRocca, Bruno & Lindsey                       47.50
    LaRocca, Bruno & Lindsey 0001841              441.27
    Leben, Daniel 0002303                         190.00
    Lee 0003045                                   240.00
    Leenhouts, James & Marjorie                   260.00
    Leighow, George & Mary *                       95.00
    Len, Leonard F. & Marian                      160.00
    Leonardi , Travis 0003196                     170.00
    Lilly Pulitzer 0003208                         75.00
    Lim, James & Ann 0003226                       95.00
    Mackay, Thomas & Loretta *                     95.00
    Manos, Guy & Pamela                            85.56
    Manzo, Cindy                                3,288.02
    Martin, Craig & Sherry *                       95.00
    Martin, William & Eva                          95.00
    Mcalevey, Michael                              47.50
    McCann, Donald and Shiela *                     5.00
    McCarthy, Martha *                             95.00
    McDonald, Iris 0002717                        170.00
    McGraw, Michael & Mary                      1,275.66
    McHarg, Warren & Christine *                   24.00
    McIntosh, John W.                             180.35
    McStravick, James & Nanette *                 692.00
    Medaglia, Anthony & Catherine                 196.40
    Michael & Diane, Jones 0002807                427.73
    Miller, Duncan & Margaret *                    47.50
    Misc                                            0.00
    Moody, Elizabeth 0003004                      107.00
    Morgan, A.C. & Molly                          170.00
    Morosky, Robert & Diane                       142.50
    Moss, Joseph & Gail *                         160.00
    Moxon, Sally                                   75.00
    Murdough, Jr., Thomas G & Joy                 355.94
    Nesher, Jill 0003132                          170.00
    Nivar Inc. 0002740                          5,377.92
    Nowak, John & Genevieve *                      95.00
    Ocean Harbour Condos 0002221                  130.00
    Ocean Reef Club                               602.00
    Ocean Reef Club Engineering                   510.00
    Ocean Reef Homes 0002220                        0.00




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    Olefson, Shari B.                             116.00
    Orlando, Dario                                160.00
    Overholt Construction Corp                    754.20
    Pace, David & Sherryll Anne *                  95.00
    Paige, Francis & Judy *                     2,387.80
    Parmenter, Courtney 0003016                 1,171.00
    Parmenter, Daryl & Courtney                   144.00
    Paterson, Johanna                             121.46
    Paxos, George & Sevasti                       122.00
    Pease, Louisa                                  95.00
    Perenic, Alex 0003234                          95.00
    Perenic, Frederic & Lynn 0003057              546.80
    Perfido, Ruth 0003214                         240.00
    Persaud, Samuel & Cherie *                     98.00
    Peterson, David & Krista                    1,910.00
    Philips, Brian & Laura *                      101.00
    Philly Keys Restaurant 0002209                 95.00
    Pietrafesa, Richard                           577.00
    Platner, Brian & Beverly 0002535              427.00
    Pollard, Thomas & Kelly 0003144                95.00
    Post, George & Sandra *                         0.00
    Potts, Dianne 0003249                         190.00
    R. T. Leasing Corp.                           310.00
    Randall, Ayo 0003245                           97.00
    Reinhold, John 0002556                        320.07
    Repplier, Banning                              95.00
    Richards,Russ 0002476                          95.00
    Ripich, Robert & Catherine *                  282.81
    Robex Juice 0002239                           333.50
    Robinson, Richard                              87.00
    RT Leasing Corp                               142.50
    Rule, Kenneth & Sandra Lynn                   190.00
    Runnells, Clive & Nancy                       150.00
    Russell Post Properties Rentals                95.00
    Russell, Margaret 0002608                      95.00
    Ryon, Richard & Cathy *                       190.00
    Schneider, Frank & Gordana 0002583            109.00
    Seale, James & Erin                            95.00
    Seaway Plumbing                                72.00
    Shields, Pat & Meg                          1,266.20
    Shimm, Kenneth                                 95.00
    Shoreline Builders, Inc                       700.00
    Shumway, Shirley                               95.00
    Sloan, Cyrus Hamilton & Ann 0002779           525.71
    Slovick, Steven & Melinda 0002895             184.00




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                                               TOTAL

    Smalley 0002593                                90.00
    Smith , Campbell & Ashley 0003239             190.00
    Smith, Charles                                 95.00
    Smith, Raymond & Virginia 0003010              95.00
    South Bay Developers 0002505                  332.50
    St. Germain, Lisa 0003128                     354.55
    Stamps, Roe & Penny                            95.00
    Stavola, William & Maureen                     95.00
    Strode, James 0003097                          95.00
    Sullivan, Michael & Jill                      123.00
    Swenson, Peter 0003082                         85.00
    Tapavino 0003176                               95.00
    Techet & Steven & Joan                        473.30
    Terzian, Mrs. Arthur *                        540.71
    Thomas, Jose 0002674                           95.00
    Thornton, Peter & Marijane *                  307.60
    Thornton, Stephanie 0002050                   127.50
    Timeless 0002868                               90.00
    Torise, Steve & Joyce                         170.50
    Tri-Tech Construction 0002037               5,529.25
    Tudino, Eugene & Rita *                       278.54
    Tweardy, Cathey                               122.50
    Urban, Kathy 0002716                          448.50
    Vacation Rentals                            1,852.12
    Van Ness, William & Anne                      240.75
    Veneklasen, Alan & Lynn *                      90.00
    Ventura, Juan C. & Maria 0003243               85.00
    Vernace, Salvatore & Anna Maria               160.00
    Viking Distributing East 0003117               83.28
    Waite, Julia                                   95.00
    Waller, Allen & Gladys *                      207.37
    Watts, Joretta                                 51.06
    Weisleder, Brooke & Sally                      -3.00
    Whitaker, Kerry                               325.64
    White, Kathy & William *                      225.00
    Wiebel, Michelle 0002431                      184.00
    Williams, Roy 0002596                         584.90
    Williamson, Robert & Eleanor                  360.00
    Wittels, Michael & Lishka                     494.00
    Witz, Robert & Fay                             95.00
    Wolf , Charles & Diane 0003244                200.00
    Wolf, Morris & Barbara                        123.00
    Worley, Joe 0002259                           355.47
    Wretzky , Gerald 0002977                       97.00
    Yoh, Jr. Harold & Mary                        300.00




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    Yoh, Michael & Gayle                       75.00
    Young, Bradley & Laurel                   255.44
    Zaccaro, John                             300.00
TOTAL                                     112,330.08




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                                      Case 17-12747-LMI                     Doc 1          Filed 03/07/17           Page 37 of 69
 Fill in this information to identify the case:

 Debtor name         Going Ventures, LLC d/b/a Going Aire, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
 2.1    OnDeck Capital                                Describe debtor's property that is subject to a lien                  $339,999.66                       $0.00
       Creditor's Name
       1400 Broadway
       25TH Floor
       New York, NY 10018
       Creditor's mailing address                     Describe the lien
                                                      Personal Property Lien - disputed
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
                                                         Disputed
       priority.



 2.2   1st Merchant Funding, LLC                      Describe debtor's property that is subject to a lien                  $105,045.00                       $0.00
       Creditor's Name
       12000 Biscayne Blvd
       Suite 609
       Miami, FL 33181
       Creditor's mailing address                     Describe the lien
                                                      Personal Property Lien - disputed
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                      Case 17-12747-LMI                     Doc 1          Filed 03/07/17           Page 38 of 69
 Debtor       Going Ventures, LLC d/b/a Going Aire, LLC                                                Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Mantis Funding, LLC                            Describe debtor's property that is subject to a lien                      $41,440.00         $0.00
       Creditor's Name
       64 Beaver Street
       Suite 344
       New York, NY 10004
       Creditor's mailing address                     Describe the lien
                                                      Personal Property Lien - disputed
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Max Advance                                    Describe debtor's property that is subject to a lien                     $168,750.00         $0.00
       Creditor's Name

       4208 18th Ave
       Brooklyn, NY 11218
       Creditor's mailing address                     Describe the lien
                                                      Personal Property Lien - disputed
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Merchant Funding
 2.5                                                                                                                            $31,598.49         $0.00
       Services, LLC                                  Describe debtor's property that is subject to a lien
       Creditor's Name
       1 Evertrust Plaza
       14th Floor
       Jersey City, NJ 07302
       Creditor's mailing address                     Describe the lien
                                                      Personal Property Lien - disputed
                                                      Is the creditor an insider or related party?
                                                         No

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 3
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 Debtor       Going Ventures, LLC d/b/a Going Aire, LLC                                                Case number (if know)
              Name

       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.               $686,833.15

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        MCA Recovery LLC
        17 State Street                                                                                         Line   2.5
        Suite 4000
        New York, NY 10004

        Merchant Funding Services, LLC
        30 Broad Street                                                                                         Line   2.5
        14th Floor,Suite 14108
        New York, NY 10004

        Renata Bukhman, Esq
        17 State Street                                                                                         Line   2.5
        Suite 4000
        New York, NY 10004




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Going Ventures, LLC d/b/a Going Aire, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                          $0.00      $0.00
           Internal Revenue Service                                  Check all that apply.
           PO Box 21126                                                 Contingent
           Philadelphia, PA 19114-0326                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes- Notice Onlu
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                   $19,307.71
           A & R Supply, LLC                                                           Contingent
           2650 NW 89 CT.                                                              Unliquidated
           Doral, FL 33171                                                             Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?           No    Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $978.97
           AFLAC                                                                       Contingent
           1932 Wynnton Road                                                           Unliquidated
           Columbus, GA 31999                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?           No    Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 10
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 Debtor       Going Ventures, LLC d/b/a Going Aire, LLC                                               Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $754.33
          AquaCal                                                               Contingent
          2737 24th Street North                                                Unliquidated
          ST. Petersburg, FL 33713-4045                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $158.60
          Baker Distributing Company                                            Contingent
          P.O. Box 409635                                                       Unliquidated
          Atlanta, GA 30384-9635                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $405.35
          Bayshore Equipment                                                    Contingent
          1800 NW 93rd Ave.                                                     Unliquidated
          Miami, FL 33172                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,564.70
          Blue Cross Blue Shield                                                Contingent
          PO Box 740559                                                         Unliquidated
          Atlanta, GA 30374-0559                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,269.00
          Bouche Appliances                                                     Contingent
          8822 SW 131 Street                                                    Unliquidated
          Miami, FL 33176                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,027.19
          Bridgefield Employer's Insurance Company                              Contingent
          PO Box 32034                                                          Unliquidated
          Lakeland, FL 33802                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $654.85
          Car Max                                                               Contingent
          P. O. Box 3174                                                        Unliquidated
          Milwaukee, WI 53201-3174                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 10
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              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,270.66
          Card Sound Golf Shop                                                  Contingent
          100 Country Club Road                                                 Unliquidated
          Key Largo, FL 33037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $61,702.92
          Carrier Sales & Distribution                                          Contingent
          29704 Network Place                                                   Unliquidated
          Chicago, IL 60673-1297                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,579.93
          Center Meeting Associates                                             Contingent
          300 Water Street                                                      Unliquidated
          Suite 300                                                             Disputed
          Wilmington, DE 19801
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,645.00
          Central Listing Service at Ocean Reef                                 Contingent
          31 Ocean Reef Drive Suite C101-#305                                   Unliquidated
          Key Largo, FL 33037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $800.00
          Chamber of Commerce                                                   Contingent
          35 Ocean Reef Drive, Suite 142                                        Unliquidated
          Key Largo, FL 33037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $134.23
          Cintas                                                                Contingent
          1111 NW 209th Avenue                                                  Unliquidated
          Pe,broke Pines, FL 33029                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $155.48
          Comcast                                                               Contingent
          PO Box 530098                                                         Unliquidated
          Atlanta, GA 30353-0098                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 10
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 Debtor       Going Ventures, LLC d/b/a Going Aire, LLC                                               Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $329.99
          Comcast Business                                                      Contingent
          PO Box 37601                                                          Unliquidated
          Philadelphia, PA 19101-0601                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Cultural Center *                                                     Contingent
          200 Anchor Drive                                                      Unliquidated
          Key Largo, FL 33037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,641.46
          Danise D Henriquez CFC                                                Contingent
          P O Box 1129                                                          Unliquidated
          Key West, FL 33041-1129                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Darryl Copeland                                                       Contingent
          22 Harbor Island Drive                                                Unliquidated
          Key Largo, FL 33037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dennis Brozak                                                         Contingent
          3655 Beneva Oaks Drive                                                Unliquidated
          Sarasota, FL 34238                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,403.00
          Doug Kinney                                                           Contingent
          941 Melvin Road                                                       Unliquidated
          Annapolis, MD 21403                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $827.00
          Eagle Point Accounting & Tax                                          Contingent
          810 Jackson Street                                                    Unliquidated
          Locust Grove, GA 30248                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $762.36
          Economic Motors                                                       Contingent
          4075 NW 79 Ave                                                        Unliquidated
          Miami, FL 33166-6519                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $279.13
          Empire                                                                Contingent
          P.O. Box 603354                                                       Unliquidated
          Cahrlotte, NC 28260-3354                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $52.64
          Florida Department of Transportation                                  Contingent
          PO Box 880089                                                         Unliquidated
          Boca Raton, FL 33488-0890                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $99.00
          Florida Keys Board of Realtors, Inc.                                  Contingent
          92410 Overseas Hwy Suite 11                                           Unliquidated
          Tavernier, FL 33070                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $227.00
          Florida Keys Electric Co-Op                                           Contingent
          PO Box 377                                                            Unliquidated
          Tavernier, FL 33070-0377                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $105.68
          Grainger                                                              Contingent
          Dept. 806153086                                                       Unliquidated
          P.O. Box 419267                                                       Disputed
          Kansas City, MO 64141-6267
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $525.12
          Hitachi Capital America Corp.                                         Contingent
          800 Connecticut Avenue                                                Unliquidated
          Norwalk, CT 06854                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,110.00
          Home Maintenance Services                                             Contingent
          1248 North Fieldlark Lane                                             Unliquidated
          Homestead, FL 33035                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $930.64
          Humana                                                                Contingent
          P.O. Box 3024                                                         Unliquidated
          Milwaukee, WI 53201-3024                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $596.77
          Johnstone Supply                                                      Contingent
          P.O. Box 693634                                                       Unliquidated
          Miami, FL 33269                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,000.00
          Kenneth McNeese                                                       Contingent
          1913 Kimbark Drive                                                    Unliquidated
          Nashville, TN 37215                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $390.00
          Key Largo Chamber of Commerce                                         Contingent
          106000 Overseas Hwy                                                   Unliquidated
          Key Largo, FL 33037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $431.59
          Keys Business Solutions South LLC                                     Contingent
          PO Box 2403                                                           Unliquidated
          Key West, FL 33045                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $321.00
          Larry Brady                                                           Contingent
          1242 North Lake Shore Dr #26                                          Unliquidated
          Chicago, IL 60610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,261.75
          Linda Mueller                                                         Contingent
          8049 Brill Rd                                                         Unliquidated
          Cincinnati, OH 45243                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,079.14
          Marcone 133518                                                        Contingent
          PO Box #790120                                                        Unliquidated
          St. Louis, MO 63179                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,973.82
          Nationwide                                                            Contingent
          P.O. Box 37712                                                        Unliquidated
          Philadelphia, PA 19101-5012                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,232.21
          Ocean Reef Club-Comm. Trash                                           Contingent
          24 Dockside Lane PMB 433                                              Unliquidated
          Key Lago, FL 33037                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,416.00
          Ocean Reef Landings Property Owners                                   Contingent
          1 Barracuda Lane                                                      Unliquidated
          N Key Largo, FL 33037                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,635.00
          Ocean Reef Press                                                      Contingent
          35 Ocean Reef Drive, Suite 200                                        Unliquidated
          Key Largo, FL 33037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,791.00
          ORCA                                                                  Contingent
          24 Dockside Lane #505                                                 Unliquidated
          Key Largo, FL 33037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $162.01
          Pak Mail Services                                                     Contingent
          24 Dockside Lane                                                      Unliquidated
          Key Largo, FL 33037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $202.32
          Quill                                                                 Contingent
          P. O. Box 37600                                                       Unliquidated
          Philadelphia, PA 19101                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Russell Post                                                          Contingent
          35 Ocean Reef Drive                                                   Unliquidated
          Suite 120                                                             Disputed
          Key Largo, FL 33037
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $955.76
          Service Station Ocean Reef                                            Contingent
          35 Ocean Reef Drive                                                   Unliquidated
          Ste 200                                                               Disputed
          Key Largo, FL 33037
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,640.25
          Shell                                                                 Contingent
          P.O. Box 78012                                                        Unliquidated
          Phoenix, AZ 85062                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,939.15
          Synovus Bank                                                          Contingent
          P.O. Box 2181                                                         Unliquidated
          Columbus, GA 31902                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $120.00
          TerraNovaNet                                                          Contingent
          PO Box 3031                                                           Unliquidated
          Key Largo, FL 33037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 10
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 Debtor       Going Ventures, LLC d/b/a Going Aire, LLC                                               Case number (if known)
              Name

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,579.93
          The Commonwealth Group                                                Contingent
          300 Water Street                                                      Unliquidated
          Suite 300                                                             Disputed
          Wilmington, DE 19801
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $960.00
          The Islander Painting Company                                         Contingent
          7 Barracuda Lane                                                      Unliquidated
          Key Largo, FL 33037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Thomas Copeland                                                       Contingent
          12 Gravik Dr                                                          Unliquidated
          Key Largo, FL 33037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $495.00
          Three Amigos Plumbing of Monroe, Inc.                                 Contingent
          26005 S.W. 212th Ave                                                  Unliquidated
          Homestead, FL 33031                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,690.04
          Trane Parts Center                                                    Contingent
          PO Box 406469                                                         Unliquidated
          Atlanta, GA 30384-6469                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,321.09
          Tropic Supply,Inc.                                                    Contingent
          1001 Sawgrass Corporate Parkway                                       Unliquidated
          Sunrise, FL 33323                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $932.03
          VERIZON WIRELESS                                                      Contingent
          PO BOX 660108                                                         Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 10
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 Debtor       Going Ventures, LLC d/b/a Going Aire, LLC                                               Case number (if known)
              Name

 3.59      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $446.80
           Yellow Pages                                                         Contingent
           P.O. Box 5010                                                        Unliquidated
           Carol Stream, IL 60179-5010                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.60      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $202.00
           Zephyrhills Direct                                                   Contingent
           P.O. Box 856680                                                      Unliquidated
           Louisville, KY 40285-6680                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       328,476.60

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          328,476.60




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 10 of 10
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 Fill in this information to identify the case:

 Debtor name         Going Ventures, LLC d/b/a Going Aire, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Rent on business
             lease is for and the nature of               premises
             the debtor's interest

                  State the term remaining                                          The Commonwealth Group
                                                                                    300 Water Street
             List the contract number of any                                        Suite 300
                   government contract                                              Wilmington, DE 19801




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Going Ventures, LLC d/b/a Going Aire, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Brad Copeland                     5 Barracuda Lane                                  OnDeck Capital                     D   2.1
                                               Key Largo, FL 33037                                                                  E/F
                                                                                                                                    G




    2.2      Brad Copeland                     5 Barracuda Lane                                  1st Merchant                       D   2.2
                                               Key Largo, FL 33037                               Funding, LLC                       E/F
                                                                                                                                    G




    2.3      Brad Copeland                     5 Barracuda Lane                                  Mantis Funding, LLC                D   2.3
                                               Key Largo, FL 33037                                                                  E/F
                                                                                                                                    G




    2.4      Brad Copeland                     5 Barracuda Lane                                  Max Advance                        D   2.4
                                               Key Largo, FL 33037                                                                  E/F
                                                                                                                                    G




    2.5      Brad Copeland                     5 Barracuda Lane                                  Merchant Funding                   D   2.5
                                               Key Largo, FL 33037                               Services, LLC                      E/F
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 2
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 Debtor       Going Ventures, LLC d/b/a Going Aire, LLC                                 Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      Brad Copeland                     5 Barracuda Lane                              The Commonwealth               D
                                               Key Largo, FL 33037                           Group                          E/F
                                                                                                                            G   2.1




Official Form 206H                                                       Schedule H: Your Codebtors                                Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Going Ventures, LLC d/b/a Going Aire, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For year before that:                                                                       Operating a business                                 $-5,823.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                                  $7,570.00
       From 1/01/2014 to 12/31/2014
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Going Ventures, LLC d/b/a Going Aire, LLC                                                 Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Merchant Funding                                                             Supreme Court of the State                   Pending
               Services,LLC v. Going                                                        of New York                                  On appeal
               Ventures,LLC d/b/a                                                           County of Orange
                                                                                                                                         Concluded
               Going-Aire, d/b/a Going
               Marine and Carl B. Copeland
               Index No EF001158-2017

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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 Debtor        Going Ventures, LLC d/b/a Going Aire, LLC                                                    Case number (if known)



 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss   Value of property
       how the loss occurred                                                                                                                             lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates         Total amount or
                 the transfer?                                                                                                                        value
                 Address
       11.1.     David R. Softness, P.A.
                 201 South Biscayne
                 Boulevard
                 Suite 2740                                                                                                    March 1,
                 Miami, FL 33131                                                                                               2017              $10,000.00

                 Email or website address
                 david@softnesslaw.com

                 Who made the payment, if not debtor?
                 Darryl Copeland



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                    Dates transfers    Total amount or
                                                                                                                          were made                   value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                     Date transfer    Total amount or
                Address                                          payments received or debts paid in exchange                was made                  value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.




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 Debtor      Going Ventures, LLC d/b/a Going Aire, LLC                                                  Case number (if known)




           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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 Debtor      Going Ventures, LLC d/b/a Going Aire, LLC                                                  Case number (if known)




          None

       Facility name and address                                     Names of anyone with                 Description of the contents                   Do you still
                                                                     access to it                                                                       have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 5
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 Debtor      Going Ventures, LLC d/b/a Going Aire, LLC                                                  Case number (if known)



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Eagle Point Accounting & Tax Inc.
                    155 Westbridge Pkwy
                    Suite 108
                    McDonough, GA 30253

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Brad Copeland                                  5 Barracuda Lane
                                                      Key Largo, FL 33037



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
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 Debtor      Going Ventures, LLC d/b/a Going Aire, LLC                                                  Case number (if known)



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 7, 2017

 /s/ Carl Bradley Copeland                                              Carl Bradley Copeland
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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                                                               United States Bankruptcy Court
                                                                      Southern District of Florida
 In re      Going Ventures, LLC d/b/a Going Aire, LLC                                                                 Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Carl Brad Copeland                                                  Membership       99%
 5 Barracuda Lane
 Key Largo, FL 33037

 Darryl Copeland                                                     Membership       1%



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date March 7, 2017                                                          Signature /s/ Carl Bradley Copeland
                                                                                            Carl Bradley Copeland

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Going Ventures, LLC d/b/a Going Aire, LLC                                                    Case No.
                                                                                  Debtor(s)              Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       March 7, 2017                                             /s/ Carl Bradley Copeland
                                                                       Carl Bradley Copeland/Manager
                                                                       Signer/Title




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             OnDeck Capital
            1400 Broadway
            25TH Floor
            New York, NY 10018


            1st Merchant Funding, LLC
            12000 Biscayne Blvd
            Suite 609
            Miami, FL 33181


            A & R Supply, LLC
            2650 NW 89 CT.
            Doral, FL 33171


            AFLAC
            1932 Wynnton Road
            Columbus, GA 31999


            AquaCal
            2737 24th Street North
            ST. Petersburg, FL 33713-4045


            Baker Distributing Company
            P.O. Box 409635
            Atlanta, GA 30384-9635


            Bayshore Equipment
            1800 NW 93rd Ave.
            Miami, FL 33172


            Blue Cross Blue Shield
            PO Box 740559
            Atlanta, GA 30374-0559


            Bouche Appliances
            8822 SW 131 Street
            Miami, FL 33176


            Brad Copeland
            5 Barracuda Lane
            Key Largo, FL 33037


            Brad Copeland
            5 Barracuda Lane
            Key Largo, FL 33037
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        Brad Copeland
        5 Barracuda Lane
        Key Largo, FL 33037


        Brad Copeland
        5 Barracuda Lane
        Key Largo, FL 33037


        Brad Copeland
        5 Barracuda Lane
        Key Largo, FL 33037


        Brad Copeland
        5 Barracuda Lane
        Key Largo, FL 33037


        Bridgefield Employer's Insurance Company
        PO Box 32034
        Lakeland, FL 33802


        Car Max
        P. O. Box 3174
        Milwaukee, WI 53201-3174


        Card Sound Golf Shop
        100 Country Club Road
        Key Largo, FL 33037


        Carrier Sales & Distribution
        29704 Network Place
        Chicago, IL 60673-1297


        Center Meeting Associates
        300 Water Street
        Suite 300
        Wilmington, DE 19801


        Central Listing Service at Ocean Reef
        31 Ocean Reef Drive Suite C101-#305
        Key Largo, FL 33037


        Chamber of Commerce
        35 Ocean Reef Drive, Suite 142
        Key Largo, FL 33037
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        Cintas
        1111 NW 209th Avenue
        Pe,broke Pines, FL 33029


        Comcast
        PO Box 530098
        Atlanta, GA 30353-0098


        Comcast Business
        PO Box 37601
        Philadelphia, PA 19101-0601


        Cultural Center *
        200 Anchor Drive
        Key Largo, FL 33037


        Danise D Henriquez CFC
        P O Box 1129
        Key West, FL 33041-1129


        Darryl Copeland
        22 Harbor Island Drive
        Key Largo, FL 33037


        Dennis Brozak
        3655 Beneva Oaks Drive
        Sarasota, FL 34238


        Doug Kinney
        941 Melvin Road
        Annapolis, MD 21403


        Eagle Point Accounting & Tax
        810 Jackson Street
        Locust Grove, GA 30248


        Economic Motors
        4075 NW 79 Ave
        Miami, FL 33166-6519


        Empire
        P.O. Box 603354
        Cahrlotte, NC 28260-3354
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        Florida Department of Transportation
        PO Box 880089
        Boca Raton, FL 33488-0890


        Florida Keys Board of Realtors, Inc.
        92410 Overseas Hwy Suite 11
        Tavernier, FL 33070


        Florida Keys Electric Co-Op
        PO Box 377
        Tavernier, FL 33070-0377


        Grainger
        Dept. 806153086
        P.O. Box 419267
        Kansas City, MO 64141-6267


        Hitachi Capital America Corp.
        800 Connecticut Avenue
        Norwalk, CT 06854


        Home Maintenance Services
        1248 North Fieldlark Lane
        Homestead, FL 33035


        Humana
        P.O. Box 3024
        Milwaukee, WI 53201-3024


        Internal Revenue Service
        PO Box 21126
        Philadelphia, PA 19114-0326


        Johnstone Supply
        P.O. Box 693634
        Miami, FL 33269


        Kenneth McNeese
        1913 Kimbark Drive
        Nashville, TN 37215


        Key Largo Chamber of Commerce
        106000 Overseas Hwy
        Key Largo, FL 33037
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        Keys Business Solutions South LLC
        PO Box 2403
        Key West, FL 33045


        Larry Brady
        1242 North Lake Shore Dr #26
        Chicago, IL 60610


        Linda Mueller
        8049 Brill Rd
        Cincinnati, OH 45243


        Mantis Funding, LLC
        64 Beaver Street
        Suite 344
        New York, NY 10004


        Marcone 133518
        PO Box #790120
        St. Louis, MO 63179


        Max Advance
        4208 18th Ave
        Brooklyn, NY 11218


        MCA Recovery LLC
        17 State Street
        Suite 4000
        New York, NY 10004


        Merchant Funding Services, LLC
        1 Evertrust Plaza
        14th Floor
        Jersey City, NJ 07302


        Merchant Funding Services, LLC
        30 Broad Street
         14th Floor,Suite 14108
        New York, NY 10004


        Nationwide
        P.O. Box 37712
        Philadelphia, PA 19101-5012
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        Ocean Reef Club-Comm. Trash
        24 Dockside Lane PMB 433
        Key Lago, FL 33037


        Ocean Reef Landings Property Owners
        1 Barracuda Lane
        N Key Largo, FL 33037


        Ocean Reef Press
        35 Ocean Reef Drive, Suite 200
        Key Largo, FL 33037


        ORCA
        24 Dockside Lane #505
        Key Largo, FL 33037


        Pak Mail Services
        24 Dockside Lane
        Key Largo, FL 33037


        Quill
        P. O. Box 37600
        Philadelphia, PA 19101


        Renata Bukhman, Esq
        17 State Street
        Suite 4000
        New York, NY 10004


        Russell Post
        35 Ocean Reef Drive
        Suite 120
        Key Largo, FL 33037


        Service Station Ocean Reef
        35 Ocean Reef Drive
        Ste 200
        Key Largo, FL 33037


        Shell
        P.O. Box 78012
        Phoenix, AZ 85062
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        Synovus Bank
        P.O. Box 2181
        Columbus, GA 31902


        TerraNovaNet
        PO Box 3031
        Key Largo, FL 33037


        The Commonwealth Group
        300 Water Street
        Suite 300
        Wilmington, DE 19801


        The Commonwealth Group
        300 Water Street
        Suite 300
        Wilmington, DE 19801


        The Islander Painting Company
        7 Barracuda Lane
        Key Largo, FL 33037


        Thomas Copeland
        12 Gravik Dr
        Key Largo, FL 33037


        Three Amigos Plumbing of Monroe, Inc.
        26005 S.W. 212th Ave
        Homestead, FL 33031


        Trane Parts Center
        PO Box 406469
        Atlanta, GA 30384-6469


        Tropic Supply,Inc.
        1001 Sawgrass Corporate Parkway
        Sunrise, FL 33323


        VERIZON WIRELESS
        PO BOX 660108
        Dallas, TX 75266


        Yellow Pages
        P.O. Box 5010
        Carol Stream, IL 60179-5010
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        Zephyrhills Direct
        P.O. Box 856680
        Louisville, KY 40285-6680
